      2:19-cv-01206-DCN         Date Filed 05/15/19       Entry Number 13-1        Page 1 of 4




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION

GEORGE SINK, P.A. INJURY LAWYERS,                  )
                                                   )
       Plaintiff,                                  )
                                                   )
v.                                                 )
                                                   )       Civil Case No. 2:19-cv-01206-DCN
GEORGE SINK II LAW FIRM, LLC,                      )
GEORGE SINK LAW FIRM, LLC,                         )
SOUTHERN LEGAL ASSOCIATION, LLC,                   )
and GEORGE (“TED”) SINK, JR.,                      )
                                                   )
       Defendants.                                 )
                                                   )

                    MEMORANDUM IN SUPPORT OF MOTION TO SEAL

        Pursuant to the Federal Rules of Civil Procedure and Local Rule 5.03, D.S.C., Plaintiff

 George Sink, P.A. Injury Lawyers (“Plaintiff”) respectfully submits this Memorandum in support

 of its Motion to Seal, and shows the Court the following:

        1.      Plaintiff seeks to file under seal certain portions of the Memorandum in Support

 of Plaintiff’s Motion for Preliminary Injunction (the “PI Memorandum”) and certain portions of

 the Declaration of George T. Sink, Sr. (“Sink Declaration”).

        2.      Plaintiff only seeks to redact portions of the PI Memorandum that contain

 confidential and proprietary business information, such as Plaintiff’s marketing expenditures and

 gross revenues, and personal and/or sensitive information, such as the names of former clients

 and non-parties, so that their full names are not disclosed as a result of a litigation in which they

 are not involved. The portions of the Sink Declaration that Plaintiff seeks to redact correspond

 to the redacted portions of the PI Memorandum.




                                                  1
     2:19-cv-01206-DCN         Date Filed 05/15/19      Entry Number 13-1        Page 2 of 4




       3.      Plaintiff’s redactions are very specific and limited, and only withhold information

to which the public is not entitled or for the purpose of protecting the identity of non-parties.

There is no less drastic alternative or mechanism to Plaintiff’s redactions, as they are already

narrowly tailored and minimal, that will afford adequate protection of the personal, sensitive,

confidential, and/or proprietary business information described herein.

       4.      The interest of protecting the disclosure of confidential business information, as

long as it is established and not outweighed by countervailing interests, has been recognized as a

legitimate one. See Nixon v. Warner Communs., Inc., 435 U.S. 589, 598, 98 S. Ct. 1306 (1978);

Pittson Co. v. United States, 368 F.3d 385, 406 (4th Cir. 2004). In this case, the public’s right of

access to information is outweighed by competing interests of the parties in this litigation and

their legitimate interests in the preservation of sensitive business terms and commercial

information that, if disclosed to third-parties, could allow such third-parties to unfairly gain a

business advantage.

       5.      For the reasons set forth above, Plaintiff seeks an order from the Court allowing it

to file under seal certain portions of the PI Memorandum and Sink Declaration.

       6.      The undersigned counsel certify that they have complied with Local Rule 5.03,

D.S.C. in the filing of this Motion to Seal and supporting Memorandum. A non-confidential

descriptive index is attached hereto as Exhibit A.




                                                 2
2:19-cv-01206-DCN     Date Filed 05/15/19   Entry Number 13-1        Page 3 of 4




 Date: May 15, 2019               Respectfully submitted,

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                                     3
 2:19-cv-01206-DCN     Date Filed 05/15/19    Entry Number 13-1       Page 4 of 4




                                  EXHIBIT A

                       Non-Confidential Descriptive Index


1.   Memorandum in Support of Plaintiff’s Motion for Preliminary Injunction
2.   Declaration of George T. Sink, Sr.
